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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
SECURITIES AND EXCHANGE                    )
COMMISSION,                                )
                                          )
                        Plaintiff,        )
                                          )
                  v.                      )  No. 1:23-cv-01599-ABJ-ZMF
                                          )
BINANCE HOLDINGS LIMITED,                 )
BAM TRADING SERVICES INC.,                )
BAM MANAGEMENT US HOLDINGS                )
INC., AND CHANGPENG ZHAO,                 )
                                          )
                        Defendants.       )
__________________________________________)

                   PLAINTIFF SECURITIES AND EXCHANGE
             COMMISSION’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this Notice

of Supplemental Authority to inform the Court of a recent ruling in SEC v. Terraform Labs Pte.

Ltd., No. 23-cv-1346 (JSR) (S.D.N.Y.) (“Terraform”). On December 28, 2023, the Terraform

court issued its opinion on cross motions for summary judgment, resolving in the SEC’s favor a

number of issues similar to those that Defendants raise here. See Terraform, 2023 WL 8944860

(S.D.N.Y. Dec. 28, 2023), attached as Exhibit A. The opinion is accordingly relevant to the

Court’s consideration of Defendants BAM Trading Inc.’s and BAM Management US Holdings

Inc.’s Motion to Dismiss (“BAM Motion”), Dkt. No. 117-1; the Joint Motion to Dismiss the

Complaint by Defendants Binance Holdings Limited (“Binance”) and Changpeng Zhao (“Joint

Motion”), Dkt. No. 118; and the SEC’s Omnibus Memorandum of Law in Opposition to

Defendants’ Motion to Dismiss (“SEC Opposition”), Dkt. No. 172, which all addressed the

Terraform court’s prior opinion denying the motion to dismiss the SEC’s complaint in that case.
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See, e.g., BAM Mot. 25-26; Joint Mot. 10, 18-19, 24, 32 n.11; SEC Opp. 13, 26, 34, 39-40 (all

citing Terraform, 2023 WL 4858299 (S.D.N.Y. July 31, 2023)).

       First, the Terraform court, in addressing the definition of “investment contract,”

expressly rejected the defendants’ efforts to “cast aside decades of settled law”—similar to

Defendants’ efforts in this case. Instead, the court stressed that “the Supreme Court held in no

uncertain terms that ‘an investment contract for purposes of the Securities Act means a contract,

transaction or scheme whereby a person invests his money in a common enterprise and is led to

expect profits solely from the efforts of the promoter or a third party.’” Terraform, 2023 WL

8944860, at *13 (quoting SEC v. W.J. Howey Co., 328 U.S. 293, 298-99 (1946)). The court

further held that “Howey’s definition of ‘investment contract’ was and remains a binding

statement of the law, not dicta.” Id.

       Second, applying Howey, the Terraform court held there was no genuine dispute that the

crypto assets at issue, UST, LUNA, wLUNA, and MIR, were offered as investment contracts

and, therefore, securities. See id. at *13-15. The court’s analysis of the Terraform defendants’

so-called “stablecoin” UST is particularly relevant to this Court’s consideration of Defendants’

arguments concerning Binance’s so-called “stablecoin” BUSD, and Defendants’ staking-as-a-

service, BNB Vault, and Simple Earn programs. See SEC Opp. 38-44. The Terraform court

rejected the defendants’ attempt to artificially separate the schemes offered and sold—similar to

Defendants’ attempt in this case as to BUSD, see Joint Mot. 13-14—holding that the offers and

sales of UST constituted an investment contract because UST investors could deposit UST into a

protocol that Terraform developed and promoted as a profit-yielding opportunity. Id. at *13-14.

Further, the court pointed to statements about profits and efforts that gave rise to a reasonable

expectation of profits from the efforts of others, which are similar to those that Defendants in this




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case claim are insufficient as to BUSD, staking-as-a-service, BNB Vault, and Simple Earn

programs. See id. at *13-14; see also SEC Opp. 38-44.

       Third, the Terraform court granted summary judgment to the SEC on its claim that

defendants violated Section 5 of the Securities Act of 1933 (“Securities Act”) by conducting

unregistered offers and sales of crypto assets LUNA and MIR. The court pointed to, among

other examples, the offer and sale of these crypto asset securities to purchasers on Binance and

other crypto trading exchanges. Id. at *16. This reaffirmed the Terraform court’s analysis and

holdings at the motion to dismiss stage—that the manner of sale of crypto asset securities,

including to purchasers on Binance and other crypto trading platforms, does not impact whether

a crypto asset qualifies as a security. See id.; Terraform, 2023 WL 4858299, at *15 (explaining

that Howey does not distinguish between purchasers because whether the crypto assets are

purchased “directly from the defendants or, instead, in a secondary resale transaction has no

impact on whether a reasonable individual would objectively view the defendants’ actions and

statements as evincing a promise of profits based on their efforts.”).

       Finally, the Terraform court held that the defendants violated Securities Act Section 5

and were not entitled to an exemption from that provision under Regulation S because

defendants did not point to evidence showing that defendants took steps to ensure LUNA was

not resold into the U.S. market, or that they believed there was no substantial U.S. market

interest. Terraform, 2023 WL 8944860, at *16 (citing 17 C.F.R. § 230.903). This analysis of

Regulation S illustrates that the focus of Securities Act Section 5 claims is whether a defendant

offered and sold securities to U.S. investors. Compare SEC Opp. 60-63, with Joint Mot. 38-42.




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       Accordingly, the Terraform court’s opinion provides further grounds for this Court to

deny Defendants’ motions to dismiss.



Dated: January 3, 2024                      Respectfully submitted,



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